                   SIXTH DISTRICT COURT OF APPEAL
                          STATE OF FLORIDA
                         _____________________________

                             Case No. 6D2023-3102
                       Lower Tribunal No. CF16-008541-XX
                        _____________________________

                                   MICHAEL BURCH,

                                      Appellant,

                                          v.
                                   STATE OF FLORIDA,

                                       Appellee.

                         _____________________________

Appeal pursuant to Fla. R. App. P. 9.141(b)(2) from the Circuit Court for Polk County.
                               Dana Y. Moore, Judge.

                                    August 27, 2024

PER CURIAM.

      AFFIRMED.

NARDELLA, WHITE and GANNAM, JJ., concur.


Michael Burch, Live Oak, pro se.

Ashley Moody, Attorney General, Tallahassee, and David Campbell, Assistant Attorney
General, Tampa, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING AND
              DISPOSITION THEREOF IF TIMELY FILED
